      Case 8:07-cr-00454-JSM-TGW Document 379 Filed 07/07/08 Page 1 of 6 PageID 966
A 0 2458 (Rev 06/05) Sheer I - Judginen~in a Criminal Case


                             UNITED STATES DlSTRlCT COURT
                                                  W D L E DISTRlCT OF FLORIDA
                                                        TAMPA DrVlSION




UNITED STATES OF AMERICA                                      JUDGMENT IN A CKIi?I INAL CASE
                                                              CASE NUMBER: 8:07-cr-454-T-3 OTGW
                                                              USM NUMBER: 13920-096



MARTIN JESUS CRUZ-RUIZ
                                                              Defmdant's Attorney: ChristopherDesrachers. cja.

THE DEFENDANT:

1E_ pleaded guilty to count(s) ONE of the FIRST SUPERSEDJNG WICTMENT.
- pteaded no10 contedere to comt(s) which was accepted by the court.
- was found guilty on c~unt(s) after a plea of not guilty.


                                     NATURE OF OFFENSE                          OFFENSE ENDED                    COUNT

2 1 U.S.C. 1s 846 and 84 1(a)( 1),   Conspiracy to Possw with Intent to         200 7                              One
(b)(I)(A)(ii] and (b)(l)(A){vii)     Distribute and Distribute 1000 Kilograms
                                     or More of Marijurma aud 5 Kilograms or
                                     More of Cocaine


       The de-t     is s e n t d a s provided in pages 2 through6 of tbisjudgment The sentence is imposedpursu~nt
                                                                                                                to the Swwncciag
Reform Act of 1984.

- The defendant has been found not guilty on count(s)
-
X C o w s ) ONE of the indictment is dismissed on ihe motion of the United States.

IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing addms until dl fines, testirution, costs. and special ascssrnems imposed by this judgment are fully paid
If ordered to pay wtihrtion, the defendant must notify the corn and United States Attorney of my material change in economic
circumstances.

                                                                                Date of Imposition of Sentence: July 3.2008
     Case
A 0 245B (Rev8:07-cr-00454-JSM-TGW                Document
              06105) Sheet 2 - Imprisonment (Judgment in a Criminal379
                                                                    Case!          Filed 07/07/08 Page 2 of 6 PageID 967
Defendant:          MARTDJ JESUS CRUZ-RUE                                                                        -
                                                                                                     .ludgment Page   2 of 6
Case No.:           8:07-cr-454-TJOTGW

                                                              IMPRISONMENT

        After considering the advisory sentencing guidclincs a n d all of the factors iclcntificd in Title I8 U.S.C. $5
3553(a)(l)-(7), the court finds that the sentence imposed is sufficient, but not grentcr than rlecessary, to comply with
the statutory purposcs of scnlcncing.


          T h e defendant i s hereby committed to the custody of the United States Burcau of Prisons to be imprisoned for
a total term of NINETY-SEVEN (97) MONTHS as lo Count One of the First Superseding Indictment.




   The court makes the following recommendations to the Bureau of Prisons:



X 'lhedefendan! is r~mandedto the custody of the United States Marshal,
-The defendant shall surrender to the United State Marshal for this d£strict
          ,at-a.mJp.m.         on -.
          -   as notified by the United States Marshal.
-The defendant shall surrender for service of sentence at the instirution designated by the Bu rcnu ot PWIIIS.
       -before 2 p.m, on -.
       -as notifiedby the United States Marshd.
          -as   notifiedby the Probation or Pretrial Services Office.




          I have executed thisjudgment as foIlows:




          Defendant delivaed on                                               10
- ar                                                                    .with a certified copy of this judgment.
                                                                                   h i r e d States Marshal

                                                                        By:
                                                                                            Deputy United States Marshal
      Case 8:07-cr-00454-JSM-TGW Document 379 Filed 07/07/08 Page 3 of 6 PageID 968
A 0 245B (Rev. 06/05) Sheel 3 - Supervised Release (Judgment in a Criminal Cnse)

Defendant:          MARTIN JESUS CRUZ-RUE                                                                         J u d p e n t - Page 3 of 6
Case No.:           8:07-cr-454-T-30TGW
                                                           SUPERVlSED RELEASE

         Upon release from imprisonment, the defendant shall be on superv iscd release for a term of FTVE (5)YEARS
as to Count One of the First Superseding Indictment.

         The defendant must report to b e probation oftice in the district to which the defcndan( is rclc:~sedwilhin 7 2 hours of'releasefrom
the custody of the Bureau of Prisons.

The defendant shall not commit mother federal, state, or local crime. The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawful use of a conaolled substance. The defendant shall submit to one drug test within 15 days
of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

         The defendant shall not possess a fmam destructive device. or any other dangerous wcapon

         "The defendant <hall cooperate in the collection of DNA as directed by the probation oflicer.


            If thisjudgment imposes a fioe orrestitution it is a condition of supemid releas that I he defendant pay in accordaace with the
            Schedule ofPayments sheet of thisjudgment.
            The defendant must comply with the standard conditions tbat have been adopted by (Idscourt as well as with any additional
            conditions on the attached page.

                                             STANDARD CONDITIONS OF SUPERVlSTON
            the defendant shall not lave thejudicial distri~qwithout the permission of the court or probation officer.
            the defendantshall repon to the probation ofiicer and shall submit a truthful and complete written repon within the h      t five days of each
            month;
            the defendant shall answer tnrthfully all inquiries by the probation officer and foilow the instructions of the probation officer;

            the defendant shall support his or her dependents and meet other family responsibilitim;

            the d&dmt shd 1 w d regularly at a lawful occupation. unlw exused by the probation officerfor schwhg, training. or other
            acceptable reasons:
            the defendant shall notify the probation offica at lcast ten days prior to my change in residenceor employment;

            the defendant shall &in from excessive usc of akohol andshall not purchase, possess, use, distribute, or administer any controlled
            subsiance or any pataphernolia related to any canmlkd substances, except os prescribed by a physician;

            the defendant shall nw frequent places where controlled substances are illegally sold. used, dismbutcd. or administ&

            the defendant shal1 not associate with any pasans engaged in criminal activity and shall not a-iate      with any pason convicted of a
            Many. d e s s granted permission to do so by the probarion officer.

            the defendant shall permit a pmbation officer to visit him or her ar any time at home or elsewhere and shall permit confiscation of my
            contraband Observed in plain view of the pmbatiun offica;

            the defendant shall notify the probation ofticer within seventy-two hours of being arrested or questioned by a law enforcement officer:

            the ddcndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permision d the mun: and
            as direFtedby the probation officer, h e defendant shall notify third parties ofrisks that may be ocwsioned by the Madanr's criminal record
            w personal history or charactmistirs and shall permit the probarion officer to make such notifications and to amfirm the defendant's
            compliance with such notification requirement.
A 0Case  8:07-cr-00454-JSM-TGW
   2458 (Rev.                                  Document
             06/05) Sheet 3C - Supervised Relcasc (Judgment m 379    Filed
                                                              a Criminal Case)07/07/08      Page 4 of 6 PageID 969
Defendant:        MARTIN JESUS CRUZ-RUlZ                                                   Judgment - Page 4of
Case No.:         k07-cr-454-T-30TGW
                                      SPECI'QL CONDITIONS O F SUPERVISION

        The defendant shall also comply with the following additional conditions of supervised release:


-
S        The defendant shall participate in a substance abuse program (outpatient and/or inpatient) and follow te probation officer's
         instructions regarding the implementation of this cowt directive. Further, the defendant shall be required to contribute to the
         costs of services for such treatment not to exceed an amount determined reasonable by the Probation Officer's Sliding Scale for
         Substance Abuse Treatment Services. During and upon completion of this program, the defendant is isdirected to submit to
         random drug testing.

-
X        Tbe defendant shall cooperate in the collection of DNA as directed by the probation officer.
-
X        The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. The Court orders random drug
         testing not to exceed 104 tests per year.
     Case 8:07-cr-00454-JSM-TGW Document 379 Filed 07/07/08 Page 5 of 6 PageID 970
 A 0 2458 (Rev 06/05)Sheet 5   - Criminal Monetary Penalties (Judgment in a Criminal Case)
 Defendant:         MARTIN JESUS CRUZ-RUE                                                      Judgment- Page 5of 6
 Case No.:          8:07-cr-454-T-3OTGW

                                            CRIMENAL MONETARY PENALTIES

          The defendant musl pay h e total criminal monetary penalties under the schedule of payments on Sheet 6.
                            Assessment                             -
                                                                   Fie                         Total R c s ~ i h ~ t i o n

          Totals:           %100.00                                Waived                      N /,A


          The detetmination of restitution is deferred until -.              An Amended Jiuignwl~r111 tr C'rrnr~nulCase ( A 0 245C) will
          be entered after such determination.
          The defendant must make restitution (including community restitution) 10 the following payees in the amount listed
          below.
          If the defendant makes a partial payment,each payee shall receive an appxlmately pfopomoned payment, unless
               ified ocherwise in the priority order or percentage pa ent column below. However, pursuant to 18 U.S.C. 9
          =o), d no.-federal victims must be p l d before he E       e
                                                                     tdStates.


 Name of Pavee                                  Total Loss*                  Restitution Ordered




          Restitution amount ordered pursuant to plea agreement $
          The defendant must     interest on a fine or reslimtion of more than $2,500. unless the restitution or h e is paid in full
          bcforc the fifkd            rhe date ofl c judgment, pursuant to 18 U.S.C. 9 3612 0.All ofthe payment options on Sheet
          6 may be subject to penaltm for dehquency and default, pursuant to 18 U.S.C. j5 3 12(g).b
          The court determined that the defendant does not have the ability to pay interest and        IS   ordc rcd that :
                   the interest requirement is waived for the - fine       - restitutioa
                   the hterest requirement for the - h e -            restitution is modified ~s follows.


* Findings for the total mount of losses are required under Chapters 1OgA, 1 10,110G and 1 I 3 A of Title 18 for the offenses committed
on or after September 13,1994, but before April 23.1 9%.
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                             -
A 0 245B (Rev U6105) Sheet 6 Schedule of Payments (Judgment in a Criminal Cnse)

Defendant:         MARTM JESUS CRUZ-RUIZ                                                                           -
                                                                                                        Judgment Page 6of 6
Case No.:          887-cr-454-I-3OTGW


                                                   SCHEDULE OF PAYMENTS


Having assessedthe defmdantls ability to pay, payment of the total criminal monetary penalties are due as follows:

          X        Lump sum payment of $ 100.00 due immediately, balance due
                             - not later than                , or
                          -in accordance -C, - D, - E or -F below; or
                   Payment to begin immediately (maybe combined with -C, -D, or -F below); or
                   Payment in equal          (e.g., weekly, monthly, quarterly) installments of $     over a period
                   of -(e.g.. months or years). to commence            days (e.g., 30 or 60 d a y s m e date of this
                   judgment; or
          -        Payment in equal             (e.g., weekly, monthly. quarterly) installments of $           over a period of
                              , (e.g., months or yeafs) to commence                     (e.g. 30 or 60 days) after release from
                   imprisonment to a term of supemion; or
                   Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days]
                   after release from imprisonment. The court will set the payment plan based on an assessment of the
                   defendant's ability to pay at that time, or
         -         Special instructions regarding the payment of criminal monetary pcna Ir ies:



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
 enalties is due during     risonment. All c    M monetary penalties, except those ayments made through the Federal
bureau of ~ l i s o mInrna%inancial
                      '             Responsibility Pmgram, are made to the clerk oft e court.       R
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
         Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and
Several Amount, and corresponding payee, Kappropriate:


         The defendant shall pay the cost of prosecution.
         The defendant shall pay the following court cost(s):
         The defendant shatl forfeit the defendant's interest in the following property to the United SIat es.
        The Court orders that the defendant forfeit to the United States immed la (ely and voluntarily any and all assets and
property, or portions thereof, subject to forfeiture, which are in the possession or control of the defendant or the defendant's
nominees.
Payments shall be applied in the following order: (1) assessment, (2) restitution princ~pal.(3) restitution interest, (4) fineprincipal, ( 5 )
fine interest, (6) community restitution, (7) penalties. and (8) costs. including cost ofprosecucron and cowt costs,
